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              EXHIBIT A
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·IN THE CHANCERY COURT OF DAVIDSON COUNTY, TENNESSEE
· FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE


___________________________________________________


STATE OF TENNESSEE,
ex rel. JONATHAN SKRMETTI,
ATTORNEY GENERAL and REPORTER,

· · · · · · · ·Plaintiff,

vs.· · · · · · · · · · · · · ·Case No. 23-1364-IV

META PLATFORMS, INC. and
INSTAGRAM, LLC,

· · · · · · · ·Defendants.
___________________________________________________




· · · · · · · TRANSCRIPT OF PROCEEDINGS




· · · BE IT REMEMBERED that the above-captioned
cause came on for hearing on this, the 17th day of
May, 2024, beginning at 9:14 a.m., before the
Honorable Russell T. Perkins, when and where the
following proceedings were had, to wit:




____________________________________________________

Reported by:· TERRI BECKHAM, RMR, CRR, LCR
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· · · · · ·A· P· P· E· A· R· A· N· C· E                    S



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large number of depositions.

· · · · · · THE COURT:· I would just say this.                I

will just say we've got a -- the lawyers in this

case are of the highest ability and the highest

ethical quality.· We do have a local Rule 5.04 that

talks about scheduling and things like that and

courtesies and all that.· It might be a courtesy to

provide them an estimate.· I'm not going to order

you to do it.· That's something for you to consider.

· · · · · · MR. PHELPS:· Thank you, Your Honor.

· · · · · · THE COURT:· Use your own professional

judgment.· Okay.· Good point.· Thank you for raising

it.

· · · · · · MR. HALPERIN:· Thank you, Your Honor.

· · · · · · MR. PHELPS:· And, Your Honor, for all of

these we'll work together to create proposed orders

to memorialize the Court's ruling in writing.

· · · · · · MR. HALPERIN:· Absolutely, Your Honor.

· · · · · · THE COURT:· All right.· Thank you.· Next

motion.

· · · · · · MR. HALPERIN:· The Tennessee attorney

general brought suit in the name of Tennessee.

Counsel has signed pleadings, including its

opposition to this very motion, on behalf of, quote,

the plaintiff State of Tennessee.· They've entered
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appearances on behalf of plaintiff State of

Tennessee, and they've introduced themselves at

hearings and depositions as counsel for the State of

Tennessee.· Yet when Meta served discovery on

plaintiff, the State of Tennessee, for its counsel,

the attorney general's office, the attorney

general's office refused that discovery on the

grounds that the State of Tennessee is not a party,

only the attorney general.

· · · · · · State agencies should be treated as

parties to this case for two reasons.· First, Your

Honor, the State of Tennessee is a singular entity,

and the attorney general's participation in this

suit is as counsel for that entity, not as a party

himself.

· · · · · · That's clear not just from the case

caption and the signature block and the appearances,

but also from the relief that the State is seeking.

The attorney general is not alleging that he

personally or his office has been injured in this

case.· Instead, he's alleging and suing, in the

words of the complaint, to "protect the public."

That's at paragraph 26 of the complaint.

· · · · · · Courts routinely hold that when an

attorney general elects to bring suit in the name of
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a state or on behalf of the public, party discovery

includes discovery of the state's agencies.· We

cited Your Honor to Washington versus GEO from the

Western District of Washington where the Court held,

"Where the plaintiff is the state of Washington,

discovery addressed to the state includes its

agencies."

· · · · · · And in the opioid litigation where

states brought consumer protection claims, much like

the claims Tennessee brings here, there again on

behalf of the public, state courts in New York, in

New Mexico, and in South Carolina all held that the

attorney general was required to produce documents

from state agencies.

· · · · · · For example, in the state court

litigation, the Court held that where State brings

litigation on behalf of, quote, the people of the

state of New York for civil penalties under the

Consumer Protection Act and public nuisance claims,

the State was required to "search and produce

documents from the agencies likely to possess

responsive documents."

· · · · · · Because the state that this action has

brought -- the complaint does not state that this

action was brought only on behalf of specific state
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agencies or offices.· So that's the first reason,

Your Honor, the complaint and the cause of action

themselves make plain that the plaintiff in this

case is the State of Tennessee.

· · · · · · But, second, even if the Court were to

treat the plaintiff in this case as the attorney

general himself or his office, parties are required,

under Rule 34.01, to produce documents within their

possession, custody or control, and the attorney

general has control over state agency documents.

· · · · · · The attorney general, as Your Honor is

well familiar, is required under Tennessee law to

represent all agencies and to direct all civil

litigation in which agencies have an interest.· If

Meta were to serve third-party subpoenas on the

agencies from which it's seeking discovery here, the

attorney general -- or Meta, excuse me, would be

required to serve those agencies via subpoenas on

the attorney general's office, and the attorney

general doesn't deny that it would represent those

agencies in responding to those subpoenas.

· · · · · · The Western District of Tennessee has

already held that this unique role held by the

Tennessee Attorney General gives the attorney

general possession, custody or control of agency
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documents, applying the very same "legal right to

control" test that the parties agree Tennessee state

courts apply and that Your Honor should apply here.

· · · · · · In Board of Education of Shelby County

versus Memphis City Board of Education, the Court

held that the attorney general was required to

produce documents from the General Assembly even

though the General Assembly was not a named party in

the case, because "The attorney general of the State

of Tennessee has been statutorily tasked with

extensive duties as the state's legal

representative," and there was, "No information in

the record indicating that the attorney general does

not have the legal right to obtain responsive

documents on demand from the General Assembly."

· · · · · · That same reasoning applies here where

the attorney general would be required to represent

all of the agencies in responding to discovery and

where no statute prohibits the attorney general from

obtaining agency documents in the course of

prosecuting a lawsuit on behalf of the state.

· · · · · · And the recent law that General Cooper

referenced this morning confirms that.· That law,

2024 Public Chapter 776, purports to deprive the

attorney general of control while prosecuting
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 antitrust suits but not while prosecuting Tennessee

 Consumer Protection Act suits.

 · · · · · · Other state and federal courts have

 reached the same conclusion, applying the same

 control test that Tennessee applies here.· For

 example, in the two In re Generic decisions that we

 cited Your Honor to, the Eastern District of

 Pennsylvania held that 11 state attorneys general

 across the two cases had to produce documents of

 other state agencies because they provide legal

 services to those agencies and because no statute

 expressly deprives the attorney general of access to

 the agencies' documents.

 · · · · · · Notably, Your Honor, Tennessee was a

 party in the In re Generic cases.· There Tennessee

 actually resolved this dispute via stipulation.

 General Janssen, on behalf of the State of

 Tennessee, filed a stipulation saying that Tennessee

 would produce documents from four state agencies,

 including the Tennessee Department of Health, an

 agency likely that Meta is seeking discovery from

 here.

 · · · · · · I have for Your Honor a copy of that

 stipulation if you'd like it, and for opposing

 counsel.
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 · · · · · · THE COURT:· Please.

 · · · · · · MR. HALPERIN:· May I approach, Your

 Honor?

 · · · · · · THE COURT:· Yes, you may.

 · · · · · · MR. HALPERIN:· And if Your Honor turns

 to page 4, you'll see the list at the top of the

 page of the departments for which Tennessee agreed

 to produce discovery.· That stipulation belies any

 representation by the attorney general here that

 they cannot access documents from other state

 agencies.

 · · · · · · It shouldn't go unnoticed, Your Honor,

 that the same day the attorney general argued for

 limitless discovery on Meta, it asserts that Meta is

 entitled to virtually no party discovery of it.

 Accepting the State's position would mean that party

 discovery in this case largely flows only in one

 direction and that the discovery Meta must take of

 the State is primarily under the more stringent rule

 45.02 standard.· Courts have rejected that very

 outcome.

 · · · · · · Again in the opioid litigation, I direct

 Your Honor to State versus Purdue out of the

 New Mexico state court system.· The New Mexico state

 court recognized that "If state agencies could avoid
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 their discovery obligations by contending that the

 attorney general's office is a separate entity,

 civil litigation involving the state would be

 severely compromised."

 · · · · · · That unfairness that the New Mexico

 court recognized would be particularly acute here

 for two reasons.· First, as I mentioned, the

 agencies that Meta is seeking discovery of

 inevitably will be represented by the Tennessee

 Attorney General's office.· It serves no valid

 purpose for Meta to be required to serve each state

 agency individually and negotiate individually the

 scope of identical RFPs with each agency when all

 the agencies will be represented by either the

 lawyers in this courtroom or within the same office.

 · · · · · · Second, Your Honor, civil penalties

 under the TCPA don't go to the attorney general's

 office itself.· By statute they're paid to the

 State.· The State shouldn't get to potentially

 recover penalties while being immune from the

 obligations of participating in the underlying

 litigation for purposes of discovery.

 · · · · · · For these reasons, Your Honor, we ask

 Your Honor to grant our motion to compel the State

 to produce discovery from its state agencies.· Thank
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 you.

 · · · · · · THE COURT:· Thank you.

 · · · · · · MR. DUNBAR:· Good morning, Your Honor.

 · · · · · · THE COURT:· Good morning.

 · · · · · · MR. DUNBAR:· I'm Chris Dunbar on behalf

 of the State of Tennessee.· I know we're dealing

 with a number of issues today, and all those have

 been well-briefed in the papers, so I will try my

 best to be succinct.

 · · · · · · The requests are improper because they

 seek Rule 34 party discovery from other arms of

 Tennessee state government who are not party to this

 litigation.· The attorney general sued Meta under

 his enforcement authority for violating the

 Tennessee Consumer Protection Act.· The complaint

 does not bring suit on behalf of any other arm of

 Tennessee state government.· It does not seek

 recovery for any other arm of Tennessee state

 government or discuss harm to any other arm of

 Tennessee government, unlike Meta's cited opioids

 cases, the Washington AG case reference, and the

 Generics matter involving the stipulation from

 Mr. Janssen.· If Your Honor would like to hear more

 from Mr. Janssen about that, he's available.

 · · · · · · Under these circumstances, the attorney
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 general has neither actual possession, custody or

 control of the at-issue documents, nor the legal

 right to obtain them.· The fact that the attorney

 general represents other arms of state government in

 other contexts makes no difference in this

 enforcement action.· As described in our papers, the

 General Assembly has prescribed specific

 circumstances under which the attorney general may

 direct other arms of Tennessee government, but those

 do not apply here.

 · · · · · · In those circumstances our office is

 acting as a lawyer for the other arms of Tennessee

 state government, as in the Shelby County case cited

 by Meta.· But here, Your Honor, the attorney general

 is operating under his unique prerogative to grant

 an enforcement action, and the General Assembly has

 not afforded the attorney general any legal right to

 obtain materials from other arms of Tennessee in

 this case.

 · · · · · · The most persuasive and analogous

 authority is the American Express case, Your Honor,

 which concerned a consumer protection enforcement

 action brought by the Tennessee attorney general,

 just like this case.· There the Eastern District of

 New York rejected Amex's efforts to obtain agency
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 materials through first-party discovery requests.

 That court explained, "To find that the attorney

 general has control over the documents in possession

 of state agencies that operate wholly independently

 of the attorney general would be giving the

 governor's office and state agencies a virtual veto

 over the policy decision to bring an enforcement

 action that rightfully lies with the attorney

 general."

 · · · · · · That court continued, "Legally the

 attorney general has no more way of compelling

 production than Amex does if an agency refuses to

 cooperate.· I cannot order a party to produce that

 which it does not have and that to which it does not

 have any right or recourse to acquire."

 · · · · · · Now, Your Honor, all of these arguments

 apply with particular force here in Tennessee where

 the attorney general is a constitutional instrument

 of the judicial branch of government.· The request

 will require the attorney general to produce

 materials from, among other sources, the General

 Assembly, the office of the governor, and various

 legislative and executive branch instrumentalities.

 But the Tennessee constitution expressly prohibits

 any encroachment by one branch of government upon
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 the others unless directed or permitted by some

 other provision of the constitution, and the

 attorney general is not so authorized when he brings

 an enforcement action.

 · · · · · · In other words, Your Honor, Meta's

 request would burden the attorney general because

 they ask him to defy the separation of powers

 doctrine in the Tennessee constitution.

 · · · · · · Of course, none of this is to say Meta

 cannot request these materials.· Rule 45 of the

 Tennessee Rules of Civil Procedure permits Meta to

 seek the same discovery directly from the third

 parties, as our office has told Meta for months now.

 It is true that other divisions of our office may

 provide counsel to arms of Tennessee government as

 those arms respond to Rule 45 discovery that they

 receive.· Let's be clear, that is the exception to

 the rule, as they have their own capable in-house

 counsel.· And in any case, that point does not

 undermine the State's position here.· Tennessee law

 requires our office to play many distinct roles, but

 those responsibilities should not be conflated as

 Meta's improper requests would require.

 · · · · · · Because the attorney general possesses

 neither actual nor legal control of the third-party
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 materials sought by requests, and because Rule 45

 affords Meta the legal ability to pursue the same

 materials directly from the third parties, the

 third-party discovery process is plainly the less

 burdensome means for acquiring the requested

 information, and this Court should deny Meta's

 motion to compel.

 · · · · · · Unless Your Honor has any questions,

 I'll leave it there.

 · · · · · · THE COURT:· No questions.

 · · · · · · MR. HALPERIN:· Very briefly, Your Honor,

 the most directly on-point case is the case under

 Tennessee law, the Shelby County case, not the Amex

 case.· Amex did not analyze the legal-right test

 that this Court looks to and that the Tennessee

 federal court looked to in Shelby County to

 determine whether the attorney general's office has

 control.· Instead, the American Express case merely

 asks whether the agency and the attorney general

 were subject to common executive control, didn't

 look to the legal-right test.

 · · · · · · And when you look to the most relevant

 case here, when you look to Shelby County, decided

 in the Western District, what you'll see is that

 Shelby County expressly rejected the separation of
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 powers argument that the State makes here.· In

 Shelby County II, where the Court supplemented its

 opinion, the Court said this:· "The relationship

 between the attorney general and its represented

 parties is not a matter for this Court to determine.

 The Court must simply determine the scope of

 appropriate discovery under the Federal Rules of

 Civil Procedure.· Thus the Court will not further

 address the separation of powers issue."

 · · · · · · You see that again and again through the

 cases we cited.· You look again to the Purdue case

 out of the New Mexico District Court.· While it is

 true the attorney general and the governor are

 separately elected with separate responsibilities,

 the New Mexico statutes grant the attorney general

 broad authority in handling litigation on behalf of

 both the state of New Mexico and state agencies and,

 therefore, rejecting the argument the State makes

 here.

 · · · · · · The Illinois case we cited versus

 Monsanto in our briefs rejected that very "virtual

 veto" concern that the State raises as

 "speculative," "conclusory," and "unpersuasive," the

 words of that court.· Courts have rejected the

 separation of powers because we're not asking Your
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 Honor to violate the separation of powers between

 agencies.· We're simply asking Your Honor that when

 a party brings a case, they have to comply with the

 Tennessee Rules of Civil Procedure, and they have to

 produce the documents that they have control over.

 · · · · · · Finally, Your Honor, the State says that

 it's less burdensome for Meta to negotiate its scope

 of discovery requests with individual agencies that

 aren't here rather than negotiating it through the

 parties that are.· I think Your Honor, on its face,

 that argument doesn't pass muster.· The least

 burdensome way to get the discovery is to negotiate

 with the attorneys here in this courtroom all at

 once, not individually with varied state agencies.

 Thank you.

 · · · · · · THE COURT:· Thank you.· The Court's

 going to make a practical ruling on this.· I'm going

 to grant the motion in part and deny it in part, and

 will require that Rule 45 subpoenas be used related

 to documents sought from the Legislature or from the

 governor's office, and that, otherwise, the normal

 Rule 34 requests for production will suffice as to

 the other state agencies from which information is

 being sought.

 · · · · · · So that's the Court's effort to not let
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 form be elevated over substance.· Let's get this

 going in a way that makes sense in terms of

 efficiency.· I don't think it does any violence to

 any constitutional or statutory principle for this

 Court to rule in this unique case and in these

 unique circumstances as I have ruled.

 · · · · · · So that's the Court's ruling.

 Clarifications?· Again, since we don't have a

 written ruling, I'm happy to try to give them if

 anybody needs to clarify what the Court is saying.

 · · · · · · MR. HALPERIN:· Not from defendants, Your

 Honor.

 · · · · · · MR. PHELPS:· One point of clarification,

 Your Honor, and maybe we can work through this with

 counsel, but the way Meta has defined the State,

 there's no specifications as to which agencies

 they're referring to.· So in that way it's unclear

 if they're asking the State to canvas every agency

 within the State.· We heard Mr. Halperin reference

 the Department of Health.· It would be helpful if

 Your Honor had guidance or Meta was able to provide

 guidance about which agencies, rather than the

 attorneys in this room having to take the burden of

 understanding how to interpret Meta's requests in

 that way or the Court's order in that way.
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 · · · · · · THE COURT:· Gotcha.

 · · · · · · MR. HALPERIN:· If I may, Your Honor, we

 had this similar dispute arise in the MDL, and the

 judge did order us to provide a list of the agencies

 from which we're seeking discovery.· We're happy to

 provide a similar list to Tennessee.

 · · · · · · THE COURT:· Okay.· Make sure that's

 reflected in the order.

 · · · · · · MR. PHELPS:· And, Your Honor, too I

 think -- I just want to be clear.· Mr. Halperin made

 a statement that discovery would be in this way

 negotiated by all the attorneys in this room.                I

 think the State attorney general's office would

 request permission to evaluate this order, but

 perhaps also involve attorneys who are in the

 regular business of representing agencies from whom

 Meta is seeking discovery.· And so I just want to

 make sure that that point is clear on the record.                 I

 think we're free to staff this matter as we wish.

 · · · · · · THE COURT:· I think you should have that

 opportunity.

 · · · · · · MR. PHELPS:· Okay.· Thank you.

 · · · · · · THE COURT:· Thank you.

 · · · · · · MR. COOPER:· Your Honor, we're on the

 last motion here, and this is Meta's motion to seal
